  Case 19-10562           Doc 47       Filed 05/03/19 Entered 05/03/19 13:07:09            Desc Main
                                         Document     Page 1 of 7



                        IN THE UNITED STATES BANKRUPTCY COURT
                             NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION

------------------------------------------------------   x
In re:                                                   :   Chapter 11
                                                         :
BCAUSE MINING, LLC                                       :   Case No. 19-10562
                                                         :
                                                         :   Honorable Janet S. Baer
                  Debtor.:                               :
------------------------------------------------------   x

                                               NOTICE OF MOTION

To:      Those Registered to Receive Notices

                PLEASE TAKE NOTICE that on Wednesday May 8, 2019 at [10:00 a.m.], Schiff
Hardin LLP, counsel to Hoffland Properties, Inc., shall present to Judge Janet S. Baer or any Judge
sitting in her place, in the United States Bankruptcy Court for the Northern District of Illinois,
Eastern Division at 219 South Dearborn Street, Courtroom 615, Chicago, Illinois, the MOTION
OF HOFFLAND PROPERTIES TO COMPEL PAYMENT OF POST-PETITION RENT
and the [PROPOSED] ORDER COMPELLING PAYMENT OF POST-PETITION RENT
which are attached hereto and hereby served upon you.

 Dated: May 3, 2019                                      Respectfully submitted,

                                                         By: /s/ Sarah K. Angelino
                                                                  J. Mark Fisher
                                                                  Sarah K. Angelino
                                                                  Schiff Hardin LLP
                                                                  233 S. Wacker Dr., Suite 7100
                                                                  Chicago, IL 60606
                                                                  (312) 258-5500 (phone)
                                                                  (312) 258-5700 (fax)
                                                                  mfisher@schiffhardin.com
                                                                  sangelino@schiffhardin.com

                                                         Counsel for Hoffland Properties, Inc.
  Case 19-10562           Doc 47       Filed 05/03/19 Entered 05/03/19 13:07:09       Desc Main
                                         Document     Page 2 of 7



                        IN THE UNITED STATES BANKRUPTCY COURT
                             NORTHERN DISTRICT OF ILLINOIS
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------------------------------------------------------ x
In re:                                                 : Chapter 11
                                                       :
BCAUSE MINING, LLC                                     : Case No. 19-10562
                                                       :
                                                       : Honorable Janet S. Baer
                  Debtor.:                             :
------------------------------------------------------ x
                     MOTION OF HOFFLAND PROPERTIES TO COMPEL
                                PAYMENT OF POST-PETITION RENT

         Hoffland Properties, Inc. (“Hoffland”), the landlord for the Debtor’s only operating

location, by its undersigned Counsel, moves to Compel Payment of Post-Petition Rent (the

“Motion”) and in support thereof states as follows:

                                             Factual Background

         1.       Hoffland, as Lessor, entered into a Triple Net Lease (with Rider) (as amended, the

“Lease”) with the Debtor, BCause Mining, LLC (the “Debtor”) dated November 1, 2017, whereby

Hoffland leased to the Debtor a commercial warehouse condominium located at Unit B, 5465

Greenwich Road, Virginia Beach, Virginia (the “Leased Premises”). A copy of the Lease (but

omitting exhibits that are not relevant to the Motion) is attached as Exhibit 1.

         2.       The Leased Premises consist of approximately 105,861 square feet of space and the

common elements appurtenant thereto. The current month rental is $58,570, payable in advance

on the first business day of each and every month (See Lease, paras 3 and 10).

         3.       The Debtor filed its voluntary Chapter 11 Petition on April 11, 2019, and has

continued in possession of the Leased Premises, continuing to derive a reported monthly income

of over $1 million from the use of the Leased Premises.
  Case 19-10562        Doc 47     Filed 05/03/19 Entered 05/03/19 13:07:09              Desc Main
                                    Document     Page 3 of 7



       4.      The Debtor has acknowledged the amount of the monthly rent by including the

$58,570 amount thereof in its various filed budgets, including the Supplement it filed to the

BCause, LLC cash collateral motion on April 23rd [Bcause, LLC, Docket No. 24, p. 10]. A copy

of the proposed budget is attached hereto as Exhibit 2. However, the Debtor has made no rent

payments on the Lease since before the filing of this Case either from the alleged cash collateral

of WESCO Distribution, Inc. (“WESCO”) or other funds.

       5.      This complete failure to address the payment of May rent, timely or otherwise, is

exacerbated by the fact that the Debtor has not paid prorated stub rent for the post-petition portion

of April, 2019. The Debtor’s rent check to Hoffland was dishonored by Debtor’s bank for

insufficient funds, purportedly due to the WESCO garnishment. The dishonor of the April rent

check has left Hoffland with a $39,046.67 stub rent obligation (the “Stub Rent”) due for the twenty-

day period from April 11 through April 30, 2019 ($58,570 ÷30 x 20).

       6.      Even though the Debtor continues to occupy the Leased Premises and generate

income of over $1 million a month, it has failed to pay Hoffland the rent due for May or Stub Rent

for April, or, for that matter, make provisions to pay any future rent due under the Lease.

       7.      Therefore, on May 2, 2019 Hoffland sent to the Debtor, notifying it that it did not

receive the payments referenced above, and requesting assurances that such amounts would be

paid forthwith. No such assurances have been received. A copy of this May 2nd letter is attached

hereto as Exhibit 3.

                                          Applicable Law

       8.      11 U.S.C. § 365(d)(3) provides in relevant part: “The trustee shall timely perform

all the obligations of the debtor . . . arising from and after the order for relief under any unexpired




                                                  2
  Case 19-10562        Doc 47     Filed 05/03/19 Entered 05/03/19 13:07:09              Desc Main
                                    Document     Page 4 of 7



lease   of    nonresidential   real   property,   until   such   lease   is   assumed   or   rejected,

notwithstanding section 503(b)(1) of this title.” (emphasis added).

        9.      “Pursuant to the plain language of Section 365(d)(3), the . . . debtor in possession

has a duty, prior to assumption or rejection of a lease of nonresidential real property, to make

timely payment of the full rent due, from any available funds . . . regardless of the administrative

solvency of the estate.” In re Telesphere Commc'ns, Inc., 148 B.R. 525, 531 (Bankr. N.D. Ill. 1992)

(ordering the debtor in possession to pay immediately the rent that it was obligated to pay to

commercial landlord post-petition); accord In re C.Q., LLC, 343 B.R. 915, 916–17 (Bankr. W.D.

Wis. 2005); In re McCabe, 212 B.R. 21, 22 (Bankr. D. Mass. 1996) (“Where the statute expressly

obligates the trustee to “timely perform,” the remedy is implicit: performance of the obligation.

Absent this remedy, the requirement of timely performance is, for the most part, eviscerated.

Immediate payment does elevate rents payable under § 365(d)(3) to a higher priority than

administrative expenses allowed under § 503(b)(1), but this is simply what § 365(d)(3) requires.”);

In re M.H.I., Inc., 61 B.R. 69, 71 (Bankr. D. Md. 1986) (“The court finds, both from the

unequivocal language of the statute and the legislative history . . . that § 365(d)(3) was added to

provide specific protection for the lessor of non-residential real property during the post-petition

hiatus period while the Trustee or Debtor decides what to do with the executory lease. . . . . The

message of Congress is unmistakable.”) (quotation omitted). But see In re Joseph C. Spiess Co.,

145 B.R. 597, 608 (Bankr. N.D. Ill. 1992).

        10.     “In other words, § 365(d)(3) makes recovery of post-petition rent automatic, rather

than requiring landlords to bring, and prove, a § 503(b)(1) administrative expense claim.” In re

Goody's Family Clothing, Inc., 401 B.R. 656, 663 (D. Del. 2009).




                                                   3
  Case 19-10562       Doc 47    Filed 05/03/19 Entered 05/03/19 13:07:09            Desc Main
                                  Document     Page 5 of 7



                                        Relief Requested

       11.     Under the plain and mandatory language of section 365(d)(3), Hoffland is entitled

to timely rent payments under the Lease for the period between the filing of the petition and the

assumption or rejection of the Lease.

       12.     Despite the plain requirements of the Code, the Debtor has failed to pay rent to

Hoffland as required by the Lease.

       WHEREFORE, Hoffland respectfully requests the Court order the Debtor to timely pay all

rent when due under the Lease and immediately pay (i) the $58,570 rent that was due on May 1,

2019 and the $39,046.67 stub rent that was due for April, 2019, and grant such other relief as the

Court deems appropriate. Hoffland reserves the right to require the Debtor to perform all other

obligations under the Lease through the date of assumption or rejection of the Lease.

                                             HOFFLAND PROPERTIES, INC.



                                             By: /s/ Sarah K. Angelino
                                                       J. Mark Fisher, Esq.
                                                       Sarah K. Angelino
                                                       Schiff Hardin LLP
                                                       233 South Wacker Drive
                                                       Suite 7100
                                                       Chicago, IL 60606
                                                       (312) 258-5500
                                                       mfisher@schiffhardin.com
                                                       sangelino@schiffhardin.com

                                                      Counsel for Hoffland Properties, Inc.




                                                4
  Case 19-10562      Doc 47     Filed 05/03/19 Entered 05/03/19 13:07:09           Desc Main
                                  Document     Page 6 of 7




                               CERTIFICATE OF SERVICE

        I, Sarah K. Angelino, an attorney, certify that on this 3rd day of May, 2019, a true and
correct copy of the foregoing was served on all counsel of record via Notice of Electronic Filing
by filing with the Court’s CM/ECF System.


                                            By: /s/ Sarah K. Angelino
                                                      Sarah K. Angelino (#6324613)
                                                      Schiff Hardin LLP
                                                      233 South Wacker Drive
                                                      Suite 7100
                                                      Chicago, IL 60606
                                                      (312) 258-5500
                                                      sangelino@schiffhardin.com



                                       SERVICE LIST
Via ECF:

David A Agay on behalf of Creditor Wesco Distribution, Inc.
dagay@mcdonaldhopkins.com,
mbrady@mcdonaldhopkins.com;bkfilings@mcdonaldhopkins.com

Sarah K Angelino on behalf of Creditor Hoffland Properties, Inc
sangelino@schiffhardin.com, edocket@schiffhardin.com

Jamie L Burns on behalf of Creditor W-R2 Jefferson Owner VIII, LLC
jburns@lplegal.com, rwilliamson@lplegal.com;ikropiewnicka@lplegal.com

Maria G Carr on behalf of Creditor Wesco Distribution, Inc.
mcarr@mcdonaldhopkins.com, bkfilings@mcdonaldhopkins.com

Scott R Clar on behalf of Debtor 1 BCause Mining LLC, a Virginia limited liability company
sclar@cranesimon.com, mjoberhausen@cranesimon.com;asimon@cranesimon.com

Shara C Cornell on behalf of Creditor Wesco Distribution, Inc.
scornell@mcdonaldhopkins.com,
mbrady@mcdonaldhopkins.com;lburrell@mcdonaldhopkins.com

Jeffrey C Dan on behalf of Debtor 1 BCause Mining LLC, a Virginia limited liability company
jdan@cranesimon.com, sclar@cranesimon.com;mjoberhausen@cranesimon.com
 Case 19-10562      Doc 47    Filed 05/03/19 Entered 05/03/19 13:07:09        Desc Main
                                Document     Page 7 of 7



Shelly A. DeRousse on behalf of Creditor Committee Official Committee Of Unsecured
Creditors
sderousse@freeborn.com, bkdocketing@freeborn.com;jhazdra@ecf.inforuptcy.com

Devon J Eggert on behalf of Creditor Committee Official Committee Of Unsecured Creditors
deggert@freeborn.com, bkdocketing@freeborn.com

Marc Ira Fenton on behalf of Creditor W-R2 Jefferson Owner VIII, LLC
mfenton@lplegal.com, skiolbasa@lplegal.com;ikropiewnicka@lplegal.com

J Mark Fisher on behalf of Creditor Hoffland Properties, Inc
mfisher@schiffhardin.com, edocket@schiffhardin.com;sricciardi@schiffhardin.com

Elizabeth L Janczak on behalf of Creditor Committee Official Committee Of Unsecured
Creditors
ejanczak@freeborn.com, bkdocketing@freeborn.com

Patrick S Layng
USTPRegion11.ES.ECF@usdoj.gov

Christina Sanfelippo on behalf of Creditor BMG Operations Ltd.
csanfelippo@foxrothschild.com, orafalovsky@foxrothschild.com

Brian L Shaw on behalf of Creditor BMG Operations Ltd.
bshaw@foxrothschild.com, cknez@foxrothschild.com

Jason M Torf on behalf of Creditor Virginia Electric and Power Company d/b/a Dominion
Energy Virginia
jason.torf@icemiller.com
